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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,                                   Case No: 1:12-cr-207

v.                                                         HON. JANET T. NEFF

KYLE KRISTOPHER COREY,

              Defendant.
                                         /


               ORDER ADOPTING REPORT AND RECOMMENDATION

       The Court has reviewed the Report and Recommendation filed October 2, 2012 by the

United States Magistrate Judge in this action. The Report and Recommendation was duly served

on the parties, and no objection has been made thereto within the time required by law.

       THEREFORE, IT IS ORDERED that:

       1. The Report and Recommendation of the Magistrate Judge (Dkt 100) is APPROVED and

ADOPTED as the opinion of the Court.

       2. Defendant's pleas of guilty are accepted and defendant is adjudicated guilty of the

charges set forth in Counts One, Seven and Nine of the Indictment.

       3. The written plea agreement is hereby continued under advisement pending sentencing.




Dated: October 22, 2012                              /s/Janet T. Neff
                                                    JANET T. NEFF
                                                    UNITED STATES DISTRICT JUDGE
